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                                   STATEMENT OF FACTS

        Your affiant,                 , is a Special Agent assigned to the Richmond FBI Division,
Fredericksburg Resident Agency. In my duties as a Special Agent, I investigate violent gangs,
illegal narcotics trafficking, violent crime and threats to life. Currently, I am tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As an FBI
Special Agent, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detection, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, S.E., in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       At approximately 2:00 p.m., some people in the crowd forced their way through, up, and
over the barricades and law enforcement. The crowd advanced to the exterior façade of the
building. The crowd was not lawfully authorized to enter or remain in the building and, prior to
entering the building, no members of the crowd submitted to security screenings or weapons
checks by USCP officers or other authorized security officials. At such time, the certification
proceedings were still underway, and the exterior doors and windows of the United States Capitol
were locked or otherwise secured. Members of law enforcement attempted to maintain order and
keep the crowd from entering the United States Capitol.



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       Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law. For instance, there were scores of individuals inside the U.S.
Capitol building without authority to be there, including WILLIAM NICHOLS, as described
herein.

       Your affiant reviewed numerous open source videos recorded at the United States Capitol
on January 6, 2021. In one open source video, a rioter “interviewed” a man with brown hair and
a brown circle beard, and wearing a camouflage jacket with a tan combat vest over the jacket. The
man spoke directly to the camera and stated, in part, “I’m Arthur Nichols, Jr. I’m from the Socialist
Paradise of Vermont.” See Image 1.




                              Image 1: NICHOLS in video interview




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        Your affiant compared the clip in that video of the man who stated, “I’m Arthur Nichols,
Jr.” with a photograph obtained from the Virginia Department of Motor Vehicles. Based on that
comparison, the man from the video appears to be WILLIAM NICHOLS.

        Additionally, your affiant reviewed numerous open source videos that appear to have been
filmed at the United States Capitol on January 6, 2021, as well as bodyworn camera footage from
Metropolitan Police Department (MPD) officers taken on January 6, 2021. In the video footage,
NICHOLS can be seen with brown hair and a brown circle beard, and appears to be wearing a
camouflage jacket underneath a tan combat vest, a black and grey baseball cap (at times), dark
pants, and boots. See Images 2 and 3.




     Image 2: Photograph of NICHOLS (circled in yellow) taken from open source footage




  Image 3: Photograph of NICHOLS (circled in yellow) taken from bodyworn camera footage

       In open source and bodyworn camera footage, NICHOLS can be seen on several occasions
on the West front of the Capitol grounds engaging in violent interactions with police officers.

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        Open source footage also shows NICHOLS straddling the ledge on Capitol Grounds near
a TRUMP 2020 flag. NICHOLS is onlooking another rioter who appears to be urinating on the
wall of the United States Capitol. See Image 19.




                                            Image 19

        Your affiant interviewed several of NICHOLS’ former employers. In those interviews,
your affiant showed the former employers photographs from January 6, 2021, depicting the person
identified herein as NICHOLS. Each person positively identified the person in the photographs
as NICHOLS.

        For the reasons set forth above, I submit there is probable cause to believe that NICHOLS
violated:

       1. 18 U.S.C. §§ 111(a)(1) and (b), which makes it a crime to forcibly assault or interfere
with any person designated in section 1114 of this title 18 while engaged in or on account of the
performance of official duties and uses a deadly or dangerous weapon (including a weapon
intended to cause death or danger but that fails to do so by reason of a defective component).
Persons designated within section 1114 include any person assisting an officer or employee of the
United States in the performance of their official duties.

        2.      18 U.S.C. § 231(a)(3), which makes it a crime to commit or attempt to commit any
act to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged
in the lawful performance of his official duties incident to and during the commission of a civil
disorder which in any way or degree obstructs, delays, or adversely affects commerce or the
movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. “Civil disorder” means any public disturbance involving acts of
violence by assemblages of three or more persons, which causes an immediate danger of or results

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in damage or injury to the property or person of any other individual. “Federally protected
function” means any function, operation, or action carried out, under the laws of the United States,
by any department, agency, or instrumentality of the United States or by an officer or employee
thereof; and such term shall specifically include, but not be limited to, the collection and
distribution of the United States mails. 18 U.S.C. §232(1).

        3.      18 U.S.C. §§ 1752(a) and (b), which make it a crime to (1) knowingly enter or
remain in any restricted building or grounds without lawful authority to do so; (2) knowingly, and
with intent to impede or disrupt the orderly conduct of Government business or official functions,
engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building
or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official; and (4) knowingly engage in any act of physical violence against
any person or property in any restricted building or grounds, or attempts or conspires to do so
function – all while using or carrying a deadly or dangerous weapon. The punishment for violating
these provisions by using or carrying a dangerous weapon is imprisonment for up to 10 years. 18
U.S.C. § 1752(b)(1)(A). For purposes of Section 1752 of Title 18, a “restricted building” includes
a posted, cordoned off, or otherwise restricted area of a building or grounds where the President
or other person protected by the Secret Service, including the Vice President, is or will be
temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

        4.      40 U.S.C. § 5104(e)(2), which makes it a crime for an individual or group of
individuals to willfully and knowingly (D) utter loud, threatening, or abusive language, or engage
in disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings
with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress or either
House of Congress, or the orderly conduct in that building of a hearing before, or any deliberations
of, a committee of Congress or either House of Congress; (E) obstruct, or impede passage through
or within, the Grounds or any of the Capitol Buildings; or (F) engage in an act of physical violence
in the Grounds or any of the Capitol Buildings.


                                                      Respectfully submitted,




                                                      Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 20th day of January 2023.
                                                                          Zia M. Faruqui
                                                                          2023.01.20
                                                                          16:17:39 -05'00'
                                                     ___________________________________
                                                      ZIA M. FARUQUI
                                                      UNITED STATES MAGISTRATE JUDGE

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